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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION

    DAVID SAMBRANO ET AL.,

         Plaintiffs,

    v.                                                 No. 4:21-cv-1074-P

    UNITED AIRLINES, INC.,

         Defendant.

                                    ORDER
       Before the Court is Plaintiffs’ Motion for Injunction Pending Appeal
    (“Motion”), filed November 23, 2021. Pls.’ Mot., ECF No. 118. Plaintiffs’
    Motion attempts to relitigate the issues and arguments that previously
    led the Court to deny Plaintiffs’ Motion for Preliminary Injunction, as
    well as Plaintiffs’ Motion for Reconsideration of the same. See Orders
    Denying PI & Denying Mot. to Recons., ECF Nos. 104, 115. As Plaintiffs
    requested, the Court issues this Order promptly so that the pending
    interlocutory appeal to the Fifth Circuit in this case may proceed
    expeditiously. See FED. R. APP. P. 8(a)(1)(C); see also Pls.’ Mot. at n.1.

       The Court concludes that, under binding precedent, Plaintiffs’ latest
    request for injunctive relief must also be denied. To obtain an injunction
    pending appeal Plaintiffs must establish the following familiar
    elements: (1) a substantial likelihood of success on the merits; (2) a
    substantial threat of irreparable injury absent an injunction; (3) the
    threatened injury outweighs the threatened harm to the party against
    whom the injunction is sought; and (4) granting the injunction will not
    disserve the public interest. See Weingarten Realty Invs. v. Miller, 661
    F.3d 904, 910 (5th Cir. 2011). Plaintiffs had the burden to these
    elements in their earlier requests for a preliminary injunction prior to
    filing their appeal. Compare id., with City of Dallas v. Delta Air Lines,
    Inc., 847 F.3d 279, 285 (5th Cir. 2017) (citation omitted).
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       The Court twice considered Plaintiffs’ arguments that they were
    entitled to an injunction; the Court twice concluded that Plaintiffs failed
    to meet their burden to establish an essential element—a substantial
    threat of irreparable injury exists absent an injunction. See Orders
    Denying PI & Denying Mot. to Recons. The Court, therefore, denied
    Plaintiffs’ Motion for Preliminary Injunction and their Motion for
    Reconsideration. Id. For the same reasons articulated in its previous
    Orders, the Court must also deny Plaintiffs’ present Motion: Plaintiffs
    again failed to meet their burden on the irreparable harm element. The
    Court thus concludes that Plaintiffs are not entitled to injunctive relief
    pending appeal.

       Accordingly, the Court DENIES Plaintiffs’ Motion for Injunction
    Pending Appeal. ECF No. 118.

       SO ORDERED on this 23rd day of November, 2021.




                  Mark T. Pittman
                  UNITED STATES DISTRICT JUDGE




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